           Case 1:19-cv-10203-IT Document 78-9 Filed 05/15/20 Page 1 of 1




                              UNITED STATES DISTRICT COURT

                                            FOR THE

                                DISTRICT OF MASSACHUSETTS



SONYA LARSON

                       Plaintiff,                         Civil Action No.
v.
                                                          1;19-cv-10203-IT
DAWN DORLAND PERRY et al.,

                       Defendants.



 AFFIDAVIT OF ANDREW D. EPSTEIN, IN SUPPORT OF PLAINTIFF, DEFENDANT IN
          COUNTERCLAIM MOTION TO DISMISS COUNTERCLAIM OF
     DEFENDANT, PLAINTIFF IN COUNTERCLAIM, DAWN DORLAND PERRY

        I, Andrew D. Epstein, attorney for the Plaintiff, Defendant in Counterclaim, Sonya

Larson, on oath depose and state as follows:


     A few days ago, I did an online records search of the United States Copyright Office for

Facebook posts that were registered by the Defendant, Dawn Dorland Perry. The only

registration I found was for the single Dorland Letter registered as document TXu 2-101-420.


        Signed under the pains and penalties of perjury this 15th day of May 2020.



                                               /s Andrew D. Epstein
                                               ___________________________________
                                               Andrew D. Epstein
